
PER CURIAM.
The petitioner’s request for a writ of habeas corpus was denied by the circuit court, which held that it had no jurisdiction over the Florida Parole and Probation Commission’s determination of his release date. However, according to our decision in Lowe v. Florida Parole &amp; Probation Comm’n, 416 So.2d 470 (Fla. 2d DCA Apr. 30, 1982), the circuit court did have jurisdiction to review the commission’s action and provide relief if the prisoner demonstrated entitlement thereto.
We therefore reverse and remand for an appropriate determination, pursuant to Lowe.
OTT, C. J., and HOBSON and SCHOON-OVER, JJ., concur.
